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                 4                              UNITED STATES DISTRICT COURT
                 5                                     DISTRICT OF NEVADA
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                 7    UNITED STATES OF AMERICA,                          Case No. 2:15-CR-146 JCM (NJK)
                 8                                       Plaintiff(s),                  ORDER
                 9          v.
               10     GILBERT SOTO,
               11                                      Defendant(s).
               12
               13            Presently before the court is defendant Gilbert Soto’s motion for appointment of the
               14     FPD to assist him with moving for early termination of supervised release. (ECF No. 54).
               15            Soto’s motion is GRANTED pursuant to this district’s Plan for Administration of the
               16     Criminal Justice Act of 1964. See 18 U.S.C. § 3006A(a)(1)(E); LCR 44-1.
               17            IT IS SO ORDERED.
               18            DATED January 11, 2021.
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               20                                                UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
